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 8                             UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11     UNITED STATES OF AMERICA,                         Case No.: 17-CV-515-AJB-WVG
12                                      Plaintiff,
                                                         ORDER SETTING TELEPHONIC
13     v.                                                DISCOVERY CONFERENCE
14     RAJMP, INC., et al.,
15                                   Defendants.
16
17           On February 10, 2020, counsel for Defendant RAJMP, Inc. (“Defendant”) and the
18    Government jointly informed this Court’s Chambers of three discovery disputes separate
19    from the two discovery disputes that the Parties raised on January 31, 2020, which the
20    Parties are presently briefing for the Court’s consideration. (See Doc Nos. 209-211.)
21          In this most recent dispute, Defendant and the Government disagree over deposition-
22    related matters, namely whether (1) the scope of deposition testimony for current and
23    former Internal Revenue Service (“IRS”) employees may be defined or otherwise narrowed
24    to limit the topics on which Defendant seeks to depose the employees; and (2) any current
25    or former IRS employees may use the assistance of counsel for the Government to clarify
26    and/or object to certain questions in deposition that may run afoul of the employees’
27    testimonial authorizations. Further, counsel for the Government noted that Defendant
28    agreed to supplement certain interrogatories but has failed to do so to date. With the

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 1    deadline to respond approaching, Defendant’s counsel has not provided a date certain by
 2    which Defendant will have supplemented the interrogatories. According to the
 3    Government, Defendant’s non-committal position calls into question whether the initial
 4    responses to the interrogatories will be supplemented to any extent. During the Parties’
 5    joint call to Chambers today, Defendant provided no assurances that supplemental
 6    responses would in fact be timely served onto the Government.
 7          Given the Parties’ ongoing disagreements, as outlined above, the Court hereby
 8    ORDERS counsel for Defendant and the Government to jointly appear for a telephonic
 9    discovery conference on Wednesday, February 12, 2020 at 12:00 P.M. No later than
10    4:00 p.m. on Tuesday, February 11, 2020, counsel shall lodge their appearances and the
11    telephone numbers at which they can be reached without fail for purposes of the discovery
12    conference.
13          IT IS SO ORDERED.
14    Dated: February 10, 2020
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